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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

BUNN ENTERPRISES, INC,                 :
13589 State Route 550                  :
Fleming, Ohio 45729-5235               :    Case No.:    2:13-cv-00357
                                       :
       and                             :
                                       :    Judge: Algenon L. Marbley
KEVIN W. BUNN                          :
2844 Deming Rd.                        :    Magistrate Judge: Terence P. Kemp
Vincent, Ohio 45784                    :
                                       :
       and                             :
                                       :    PLAINTIFFS’ NOTICE OF MOTION
DELBERT G. NEWLON                      :    AND MOTION FOR
10775 State Route 550                  :    TEMPORARY RESTRAINING ORDER
Vincent, Ohio 45784                    :
                                       :
       and                             :
                                       :
DANIEL J. LANTZ                        :
23380 Dixon Rd.                        :
Coolville, Ohio 45723                  :
                                       :
       and                             :
                                       :
MARK A. MORGAN                         :
2149 Center Rd.                        :
Hinckley, Ohio 44233                   :
                                       :
       and                             :
                                       :
MICHAEL S. SCHAU                       :
151 Cornerstone Dr.                    :
Marietta, Ohio 45750                   :
                                       :
       and                             :
                                       :
DAVID E. WELCH                         :
25851 Main St.                         :
Coolville, Ohio 45723                  :
                                       :
              Plaintiffs,              :
                                       :
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       v.                                  :
                                           :
OHIO OPERATING ENGINEERS                   :
FRINGE BENEFIT PROGRAMS                    :
c/o Brian Barch                            :
1140 Dublin Road                           :
P.O. Box 12009                             :
Columbus, Ohio 43212-0009                  :
                                           :
              Defendants.                  :
                                           :
                                           :


       Pursuant to Fed. R. Civ. P. 65(b) Plaintiffs, Bunn Enterprises, Inc. (“Bunn”), Kevin W.

Bunn (“K.W. Bunn”), Delbert G. Newlon (“Newlon”), Daniel J. Lantz (“Lantz”), Mark A.

Morgan (“Morgan”), Michael S. Schau (“Schau”) and David E. Welch (“Welch”), move for a

temporary restraining order against the Defendant, Ohio Operating Engineers Fringe Benefit

Program (the “Fund”), as follows:

       A.     Enjoin Defendants from seeking contributions for all hours worked by each

employee.

       B.     Order Defendant to seek contributions for only those hours in which employees

perform covered work under the CBA.

       C.     Enjoin Defendant from withholding pension benefits to Plaintiff Newlon.

       D.     Order Defendant to reimburse Plaintiff Newlon the pension payments which were

unlawfully withheld.

       E.     Enjoin Defendant from withholding health insurance benefits to Plaintiffs K.W.

Bunn, Lantz, Morgan, Schau and Welch.




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       F.     Order Defendant to reimburse Plaintiffs K.W. Bunn, Lantz, Morgan, Schau and

Welch the amount of money each was required to pay out of pocket to maintain the health

insurance benefits Defendant unlawfully withheld.

       The grounds for this motion are set forth in the Complaint filed contemporaneously

herewith and the Memorandum attached hereto.



                                           Respectfully submitted,

                                           /s/ Ronald L. Mason
                                           Ronald L. Mason (0030110)
                                           (Trial Attorney)
                                           Aaron T. Tulencik (0073049)
                                           Mason Law Firm Co., L.P.A.
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                                           atulencik@maslawfirm.com

                                           Counsel for Plaintiffs




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                                     MEMORANDUM

I.     THE PARTIES

       Bunn is an Ohio Corporation and union employer engaged primarily in the business of

highway construction. Bunn is an “employer” within the meaning of Section 301 of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 185 and Section 3(3) of the Employee

Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1002(5).

       K.W. Bunn is the owner of Bunn and a “participant” in the Fund within the meaning of

Section 3(7) of ERISA, 29. U.S.C. § 1002(7). K.W. Bunn first paid into the Fund’s Health and

Welfare Plan in January 1996. K.W. Bunn is a member of the International Union of Operating

Engineers, Local 18 (“Local 18”).

       Newlon was a part-time employee of Bunn and “participant” in the Fund within the

meaning of Section 3(6) and (7) of ERISA, 29 U.S.C. § 1002(6)(7). Newlon retired from Local

18 in or about March 2008. Newlon is no longer employed by Bunn and his last day of

employment was March 9, 2012.

       Lantz is an employee of Bunn and “participant” in the Fund within the meaning of

Section 3(6) and (7) of ERISA, 29 U.S.C. § 1002(6)(7). Lantz’s date of hire was April 6, 2009.

Lantz first paid into the Fund’s Health and Welfare Plan in April 2009. Lantz is a member of

Local 18.

       Morgan is an employee of Bunn and “participant” in the Fund within the meaning of

Section 3(6) and (7) of ERISA, 29 U.S.C. § 1002(6)(7). Morgan’s date of hire was July 9, 2009.

Morgan first paid into the Fund’s Health and Welfare Plan in July 2009. Morgan is a member of

Local 18.




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         Schau is an employee of Bunn and “participant” in the Fund within the meaning of

Section 3(6) and (7) of ERISA, 29 U.S.C. § 1002(6)(7). Schau’s date of hire was July 5, 2010.

Schau first paid into the Fund’s Health and Welfare Plan in October 2011.

         Welch is an employee of Bunn and “participant” in the Fund within the meaning of

Section 3(6) and (7) of ERISA, 29 U.S.C. § 1002(6)(7). Welch’s date of hire was August 23,

2010. Welch first paid into the Fund’s Health and Welfare Plan in August 2010. Welch was a

member of Local 18 until April 2012.

         The Fund is located in Columbus, Ohio and upon information and belief is organized for

the benefit of workers throughout the state of Ohio. Upon information and belief, the Fund is the

collective agent for the International Union of Operating Engineers, Local 18.                    The Fund

administers a pension fund, a health and welfare plan, an apprenticeship fund and an education

and safety fund which may be impacted by the matters set forth herein. The Fund is an

“employee benefit plan” within the meaning of Section 3(3) and 502 of ERISA, 29 U.S.C. §§

1002(3) and 1132.

II.      FACTS

         A.     The Audit

         Bunn is signatory to the Ohio Heavy Highway Agreement (“CBA”) effective May 1,

2010 through April 30, 2013 between Local 18 and the Labor Relations Division of the Ohio

Contractors Association. 1      Local 18 is a labor organization with a geographic jurisdiction

covering 85 counties in Ohio and four counties in Northern Kentucky, and is a “labor

organization” under Section 301 of LMRA, 29 U.S.C. § 185. Under the terms of the CBA,

“[f]ringe benefit contributions shall be paid…for all hours paid to each employee by the

1
  Bunn is also signatory to the Associated General Contractors (“AGC”) of Ohio Building Agreement between the
International Union of Operating Engineers Local 18 and its Branches, (AFL-CIO) and the Labor Relations of the
AGC of Ohio.

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Employer under this Agreement[.]” Per the terms of the CBA, the Fund is permitted to audit the

books and records of any Employer obligated to make these contributions.

       Bunn received two requests (October 2011 and November 2011) from the Fund

requesting an audit of its payroll records from January 2008 to the present. On or about January

3, 2012 the Fund conducted an audit of Bunn’s payroll records and on January 19, 2012 sent the

results of its audit to Bunn (“first audit report”). Based upon its audit, the Fund determined that

Bunn failed to pay certain fringe benefit contributions due to the Fund, as well as Union

Administrative Dues which had been withheld from employees’ wages but not remitted.

Including late charge fees, the Fund determined that Bunn owed a total of $9,134.41 and if the

Fund did not receive payment before February 15, 2012 more late charges would ensue.

       On February 1, 2012 Bunn sent a letter to the Fund disputing the results set forth in the

Fund’s first audit report. Bunn instructed the Fund that the 177.5 hours noted in the Fund’s first

audit report for January 2008 was work performed by Newlon and was not covered work under

the CBA. As such, no contributions were required. Bunn also noted that because the employee

whose hours were in dispute was retired (Newlon), Bunn erroneously paid the required

contribution benefits for any covered work Newlon did perform directly to Newlon, instead of

the Fund. Bunn also disputed the late charge assessment. All told, Bunn asserted that it owed

$4,107.88 in unpaid contributions and various Union Administrative Dues to the Fund, not

$9,134.41.

       On March 9, 2012, the Fund sent Bunn a second set of audit findings (“second audit

report”). The Fund was now asserting that Bunn owed $51,297.53 in unpaid fringe benefit

contributions, Union Administrative Dues and late fees. The Fund further asserted that if it did




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not receive payment of $51,297.53 before March 15, 2012 additional late fees would be

forthcoming.

        On March 13, 2012, the Fund sent a letter to Bunn stating that it would not address the

arguments set forth in Bunn’s February 1, 2012 letter (Newlon did not perform covered work in

January 2008) because the Fund’s second audit report superseded the first audit report. The

Fund also asserted that under the provisions of the CBA, Bunn is obligated to pay fringe benefit

contributions for all hours worked by each employee, not just those hours performing covered

work under the CBA.

        On March 29, 2012, Bunn responded to the Fund’s March 13, 2012 correspondence.

Bunn reiterated that that the majority of the work performed by Newlon was not covered work as

is expressly defined in the CBA. Bunn also noted that the CBA only requires fringe benefit

contributions for all hours paid to each employee by the employer under the CBA, i.e. covered

work.

        B.     Delbert Newlon

        Newlon was an employee of Bunn for over thirty (30) years. Newlon retired from Local

18 in or about March 2008. Subsequent to his retirement from Local 18, Newlon remained

employed with Bunn performing work not covered under the CBA such as farm work, errands

and/or deliveries. Newlon has since left his employment with Bunn.

        On October 12, 2011, Newlon received correspondence from the Fund notifying him that

they had become aware that he may be working full time as an operating engineer while

receiving pension benefits from the Fund. The Fund further requested certain documents from

Newlon in order to verify that he was not working in excess of forty (40) hours per month.




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       On April 12, 2012, Newlon received correspondence from the Fund enclosing a check in

the amount of $5,617.50 for his monthly premium from October 2008 through July 31, 2009.

The Fund further asserted that due to the audit findings Newlon was no longer eligible for his

pension effective July 31, 2009. Consequently, Newlon has not received any payments from the

Fund since that time. As of December 2012 approximately $14,000 has been withheld from

Newlon.

       Admittedly, Newlon did perform limited covered work subsequent to his March 2008

retirement. In August 2008, Newlon accumulated a total of fifty-two (52) hours of covered work

while working on the U.S. Route 422 project in Geauga County and the Interstate 75 Duncannon

Road Interchange. In September 2008, Newlon accumulated a total of thirty-one (31) hours of

covered work while working on the Interstate Route 71/State Route224/Interstate Route 76

project in Medina County and the Fairmont Connector Interchange projects in Marion County.

In October 2008, Newlon accumulated a total of sixty-seven (67) hours of covered work while

working on three separate projects. Newlon performed covered work on the State Route 39

project in Tuscarawas County, the Interstate Route 71/State Route224/Interstate Route 76 project

in Medina County and a project in Putnam County. Newlon did not perform any other covered

work in 2008. In total, Newlon performed 150 hours of covered work in 2008.

       Notwithstanding, the Fund asserts that Bunn owes fringe benefit contributions totaling

$6,225.00 and local 18 administrative dues totaling $279.62 for 408.5 hours of work performed

by Newlon in 2008. Specifically, The Fund asserts Newlon performed 177.5 hours of work in

January 2008, thirty-seven (37) hours of work in June 2008, 146.5 hours of work in August

2008, 137.5 hours of work in September 2008 and eighty-seven and one half (87.5) hours of

work in October 2008.



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       In April 2009, Newlon accumulated a total 112.5 hours of covered work while working

on the Interstate Route 77 project in Summit County. In June 2009, Newlon accumulated a total

of twenty-three (23) hours of covered work while working on the State Route 39 project in

Tuscarawas County. In July 2009, Newlon accumulated a total of forty-eight (48) hours of

covered work while working on the Interstate Route 690 project in Lake County and The Ohio

State University Airport Rehab S. Runway Ramp project. Newlon did not perform any other

covered work 2009. In total, Newlon performed 183.5 hours of covered work in 2009.

       However, the Fund asserts that Bunn owes fringe benefit contributions totaling $6,478.45

and local 18 administrative dues totaling $306.41 for 580 hours of work performed by Newlon in

2009. Specifically, the Fund asserts Newlon performed 193 hours of work in April 2009, 105.5

hours of work in June 2009, eighty-seven and one half (87.5) hours of work in July 2009 and

ninety-four (94) hours of work in September 2009.

       Newlon did not perform any covered work in 2010. Nevertheless, the Fund asserts that

Bunn owes fringe benefit contributions totaling $10,640.25 and local 18 administrative dues

totaling $357.00 for 894 hours of work performed by Newlon in 2010. Specifically, the Fund

asserts Newlon performed forty (40) hours of work in January 2010, 160 hours of work in

February 2010, 160 hours of work in March 2010, 172.5 hours of work in April 2010 and 360

hours of work in May 2010.

       In May 2011, Newlon accumulated a total of fifteen (15) hours of covered work while

working on the Interstate Route 76 project in Medina County. Newlon did not perform any other

covered work in 2011. In total, Newlon performed fifteen (15) hours of covered work in 2011.

       Notwithstanding, the Fund asserts that Bunn owes fringe benefit contributions totaling

$14,359.25 and local 18 administrative dues totaling $467.92 for 1,148.5 hours of work



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performed by Newlon in 2011. Specifically, the Fund asserts Newlon performed 170 hours of

work in January 2011, 152 hours of work in February 2011, 149 hours of work in March 2011,

150 hours of work in April 2011, 135 hours of work in May 2011, 166.5 hours of work in June

2011, 186 hours of work in July 2011 and forty (40) hours of work in August 2011.

       C.     Bunn Has Continued To Remit Monthly Contributions to the Fund For
              Covered Work

       Despite the disputed findings of the second audit report, Bunn has continued to remit its

required contributions to the Fund for the employees who perform covered work under the CBA.

On February 13, 2012, Bunn remitted contributions to the Fund in the amount of $2,197.88 for

the employees who performed covered work under the CBA in January 2012. On March 12,

2012, Bunn remitted contributions to the Fund in the amount of $2,428.92 for the employees

who performed covered work under the CBA in February 2012. On April 6, 2012, the Fund sent

correspondence to Bunn acknowledging receipt of check # 11302 in the amount of $119.48 and

check # 11304 in the amount of $2309.44, as well as Bunn’s February 2012 report. Rather than

credit the payments for which they were intended, the Fund credited the payments towards the

amount set forth in the second audit report notwithstanding Bunn’s assertions that the second

audit report was erroneous.

       On April 12, 2012, Bunn sent correspondence to the Fund instructing them that the

checks immediately referenced above were the contributions for hours of covered work

performed in February 2012 by K.W. Bunn and Chad L. Karcher (“Karcher”) and should be

credited as such. Bunn also directed the Fund not to credit any future contributions towards the

disputed second audit report. In crediting the payments towards the “delinquency” noted in the

disputed second audit report rather than credit the payments towards the employees for which

they were intended, K.W. Bunn and Karcher did not receive credit for hours worked with respect

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to the Fund’s Health and Welfare pension. K.W. Bunn and Karcher subsequently lost their

health insurance because the Fund continued to credit the payments towards the amount set forth

in the second audit report. Employee/participants Lantz, Morgan, Schau and Welch lost their

health insurance benefits for the same reasons. K.W. Bunn, Karcher, Lantz, Morgan, Schau and

Welch have accumulated the necessary hours to remain eligible to receive health insurance

benefits but for the Fund’s withholding of all hours and crediting any and all contribution

payments received by Bunn towards the amount listed in the second audit report.

       On April 13, 2012, Bunn remitted contributions to the Fund in the amount of $3598.55

for the employees who performed covered work under the CBA in March 2012. On May 15,

2012, Bunn remitted contributions to the Fund in the amount of $6502.00 for the employees who

performed covered work under the CBA in April 2012. On June 19, 2012, Bunn remitted

contributions to the Fund in the amount of $8931.41 for the employees who performed covered

work under the CBA in May 2012. On or about July 15, 2012, Bunn remitted contributions to

the Fund in the amount of $5404.99 for the employees who performed covered work under the

CBA in June 2012. On August 15, 2012, Bunn remitted contributions to the Fund in the amount

of $12,696.48 for the employees who performed covered work under the CBA in July 2012.

       On September 12, 2012, Bunn received a call from then current employee, Karcher.

Karcher informed Bunn that the Fund’s office in Columbus told him he needed to pay $299.00

for insurance coverage because his union hours were not being credited to him. The last report

the Fund’s office had for Karcher’s hours at that time was December 2011. The Fund informed

Karcher that all 2012 hours were being withheld due to the Newlon case. Company records

indicate Karcher had accumulated 673 hours to his credit from January 2012 through July 2012.

Karcher is no longer an employee of Bunn. Karcher has since been credited for all his hours



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because he terminated his employment with Bunn and was subsequently reimbursed for money

spent out of pocket to pay for his health insurance.

       On September 17, 2012, Bunn remitted contributions to the Fund in the amount of

$6,699.17 for the employees who performed covered work under the CBA in August 2012. On

October 17, 2012, Bunn remitted contributions to the Fund in the amount of $6,341.71 for the

employees who perform covered work under the CBA in September 2012. On November 13,

2012, Bunn remitted contributions to the Fund in the amount of $4,283.02 for the employees

who perform covered work under the CBA in October 2012. On December 17, 2012, Bunn

remitted contributions to the Fund in the amount of $886.35 for the employees who perform

covered work under the CBA in November 2012.

       On or about January 5, 2013, Bunn remitted contributions to the Fund in the amount of

$224.10 for the employees who perform covered work under the CBA in December 2012. On

January 15, 2013, the Fund sent correspondence to Bunn’s Counsel (at that time) acknowledging

receipt of check # 12608 in the amount of $834.12, check # 12609 in the amount of $52.23,

check # 12667 in the amount of $12.26, check # 12669 in the amount of 211.84, as well as

Bunn’s November and December 2012 reports. Again, rather than credit the payments for which

they were intended, the Fund again credited the payments towards the amount set forth in the

second audit report notwithstanding Bunn’s April request to refrain from doing so.

       On February 12, 2013, Bunn remitted contributions to the Fund in the amount of

$2960.36 for the employees who perform covered work under the CBA in January 2013. On

March 13, 2013, Bunn remitted contributions to the Fund in the amount of $2265.60 for the

employees who perform covered work under the CBA in February 2013. On March 20, 2013,

the Fund sent correspondence to Bunn’s Counsel acknowledging receipt of check # 12574 in the



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amount of $193.20, check # 12756 in the amount of $2767.16, check # 12818 in the amount of

$2118.40, check # 12819 in the amount of $147.20, as well as Bunn’s January and February

2013 reports. See, Exhibit MM attached hereto. Yet again, rather than credit the payments for

which they were intended, the Fund again credited the payments towards the amount set forth in

the second audit report notwithstanding Bunn’s April request to refrain from doing so.

III.   LAW AND ARGUMENT

       A temporary restraining order is an extraordinary remedy courts use to preserve the status

between the parties until a trial on the merits can be carried out. See, Wilkins v. Daniels, 2012

U.S. Dist. LEXIS 180321, *35 (S.D. Ohio 2012).           When determining whether to grant a

TRO/preliminary injunction, the court must balance the following factors:

       (1)     whether the movant has shown a strong likelihood of success on the
       merits;

       (2)     whether the movant will suffer irreparable harm if the injunction is not
       issued;

       (3)     whether the issuance of the injunction would cause substantial harm to
       others; and

       (4)     whether the public interest would be served by the issuing the injunction.

Id. at *36. These factors are to be balanced against one another and are not prerequisites which

must be met. The decision whether or not to issue a TRO/preliminary injunction falls within the

sensible discretion of the court. Id. The essential question is whether the harm caused to the

plaintiff without an injunction, in light of the plaintiff’s likelihood of success on the merits,

outweighs the harm the requested injunction will cause defendants. See, United Steelworkers,

AFL-CIO v. Textron, Inc., 836 F.2d 6, 7 (1st Cir. 1987). A party is entitled to a permanent

injunction upon showing after a trial on the merits of a continuing irreparable injury if the court




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does not issue the injunction, and the lack of an adequate remedy at law. See, Wilkins v. Daniels,

2012 U.S. Dist. LEXIS 180321 at *37.

       A.      There Is A Substantial Likelihood of Success That Plaintiffs Will Prevail On
               The Merits of Their Claim

       The Defendant, as noted in its March 13, 2012 letter to Bunn, has taken the position that

Bunn is obligated to pay fringe benefit contributions for all hours worked by each employee, not

just those hours performing covered work under the CBA. Conversely, Plaintiffs assert that the

CBA requires fringe benefit contributions for only the hours worked performing the type of work

that is covered under the CBA. Paragraph 35 of the CBA states as follows: “Fringe benefit

contributions shall be paid at the following rates for all hours paid to each employee by the

Employer under this Agreement[.]” (Emphasis added). Necessarily, an Employer will only

pay employees “under this Agreement” when the employees perform the type of work expressly

outlined in Article I of the CBA. Additionally, paragraph 3 set forth in Article II, Provisions and

Limitations, of the CBA also limits contributions to covered work. Paragraph 3 states:

       3.     All members of the Labor Relations Division of the Ohio Contractors
       Association, and any person, firm or corporation who as an Employer becomes
       signatory to this Agreement, shall be bound by all terms and conditions of this
       Agreement as well as any future amendments which may be negotiated by the
       Labor Relations Division of the Ohio Contractors Association and the Union, and
       furthermore, shall be bound to make Health and Welfare payments, Pension
       payments, Apprenticeship Fund and Safety and Educational Fund payments
       required under Article V for all work performed within the work jurisdiction
       outlined in Article I of this Agreement, or any other payment established by the
       appropriate Agreement.

       Article I of the CBA is entitled Geographical and Industrial Scope of Agreement and

states as follows:

              1.     The provisions of this Agreement shall govern the employment of
       and conditions under which employees shall work and rates of pay they shall
       receive on work as defined herein for all counties of the State of Ohio, except



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      Columbiana, Mahoning and Trumbull, and including Boone, Campbell, Kenton
      and Pendleton counties in Kentucky.

                                            SCOPE

              2.     The word “work” when used herein means “Highway
      Construction, Airport Construction, Heavy Construction, Railroad Construction,
      Sewer, Waterworks and Utility Construction, Hazardous Waste Site Remediation,
      Industrial and Building Site, Power Plant, Amusement Park, Athletic Stadium Site
      and Pollution Control, Sewage Plant, Waste Plant and Water Treatment Facilities
      Construction” as hereinafter defined within the jurisdiction.

              A.      “Highway Construction” work is defined as work performed to
      provide a facility to accommodate vehicular or pedestrian traffic and includes, but
      is not limited to, the construction of all streets, roads, expressways, turnpikes,
      bridges, drainage structures, grade separations, parking lots, rest areas, alleys,
      sidewalks, guardrails and fences, but shall not include construction of buildings.

             B.      “Airport Construction” work is defined as including site
      preparation, grading, paving, drainage, fences, sidewalks, driveways, parking lots
      and similar work incidental to the construction of airfields, but shall not include
      the construction of buildings.

              C.     “Heavy Construction” work is defined as including, but not limited
      to, excavation for underground garages, grade separations, foundations,
      abutments, retaining walls, shafts, tunnels, subways, elevators, drainage projects,
      flood control projects, reclamation projects, reservoirs, water supply projects,
      pedestrian tunnels, water development projects, hydroelectric development, utility
      transmission lines, including right-of-way clearing, demolition of buildings on a
      highway right-of-way, locks, dams, dikes, levees, revetments, channels, channel
      cutoffs, intakes, dredging projects, jetties, breakwater, docks, harbors and all
      municipal and utility construction, except construction classified as building
      construction, and including hazardous waste site remediation work.

              D.     “Railroad Construction” work is defined as new construction
      including grading, drainage, placing of rails, crossties, ballast and the construction
      of bridges and other incidentals for railroads, street railways construction projects
      and rapid transit system projects, but shall not include the construction of
      buildings.

             E.     “Sewer, Waterworks and Utility Construction” work is defined as
      including construction of all storm sewers, sanitary sewers, supplying of all storm
      sewers, sanitary sewers, supplying and distributing waterlines, gas lines,
      telephone and television conduit, underground electrical lines and similar utility
      construction. Main waterline and trunk sewers connecting water works and/or
      sewage disposal plants are included within this definition.

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               F.     “Industrial and Building Site” work is defined as including work
       inside the property line, but outside the actual building construction and shall
       include the grading and excavation of the site to bring it to grade level, but shall
       not Include the actual excavation for the buildings for foundations and footers on
       the construction of buildings.

               G.      “Power Plant, all Wind Generation Devices and all supporting
       infrastructure (underground and roadway), Solar Farm, Geo Thermal Site,
       Amusement Park, Athletic Stadium Site” work is defined as all work which is
       inside the property line but outside the actual building construction. Such work
       shall include, but is not limited to, the grading and excavation of the site, all work
       connected with the installation of sewer lines, drainage lines, gas lines, telephone
       and television conduit, underground electrical lines and similar utility
       construction, parking lots, bridges, roads, streets, sidewalks, reservoirs, ash pits,
       storage tanks, ramps and other such construction work performed on the work
       site, but shall not include the actual excavation for the buildings, foundations or
       footers in construction of the buildings.

               H.     “Pollution Control, Sewage Plant, Waste Plant and Water
       Treatment Facilities Construction” work is defined as all work in construction of
       pumping stations, waste and sewage disposal plants, incinerator plants, water
       treatment plants, filtration plants, solid waste disposal and similar pollution
       control processes.

              L      Any work under F, G and H above, the Employer shall pay a rate
       determined by the Operating Engineers Building. Construction classification rate
       and the Operating Engineers Highway Heavy classification rate and divide by two
       (2).

       Similarly, the Building Agreement sets forth the defined scope of work in Article I.

Article I is entitled Geographical Jurisdictional Area and states as follows

              1.     The provisions of this Agreement shall govern employment of and
       conditions under which employees shall work and rates of pay they shall receive
       on work in Building Construction, in the following geographical area.

              2.    All counties in the State of Ohio except Ashtabula, Cuyahoga,
       Erie, Geauga, Huron, Lake, Medina, Lorain, Columbiana, Mahoning and
       Trumbull, and including Boone, Campbell, Kenton and Pendleton counties in
       Kentucky.

                      DEFINITION OF BUILDING CONSTRUCTION

              3.      “Building Construction work is defined as the erection and
       construction of building structures, including modifications thereof, or additions

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       or repairs thereto intended for use for shelter, protection, comfort or convenience
       and demolition of same. Building Construction shall also include the excavation
       and foundations for Building Construction.

The Scope of Work in the Building Agreement is comprised of “Industrial and Building Site”

work, “Power Plant, all Wind Generation Devices and all supporting infrastructure (underground

and roadway), Solar Farm, Geo Thermal Site, Amusement Park, Athletic Stadium Site” work

and “Sewage Plant, Waste Plant and Water Treatment Facilities Construction” work.             The

description of the work is identical to that already set forth above. Accordingly, Employers are

not required to pay fringe benefit contributions for hours worked by employees performing work

not covered under the agreement. The U.S. Court of Appeals for the Sixth Circuit agrees.

       In Michigan Laborers’ Health Care Fund v. Grimaldi Concrete, Inc., 30 F.3d 692, 695-

696 (6th Cir. 1994) the Court concluded that when an Employer fails to maintain adequate

records that would allow the plan to determine the benefits due or which may become due to

such employees as is required by 29 U.S.C. § 1059, the burden shifts to the Employer to prove

what work was covered under the agreement and what work was not covered. Thus, under

Grimaldi, an Employer is potentially liable for contributions on all hours worked during a period

in which it is demonstrated some covered work is performed if, as a result of poor record keeping

it is impossible to determine the amount due. Id at 697. Nevertheless, Grimaldi does not stand

for the proposition that if an Employer fails to keep adequate records as reflected by 29 U.S.C. §

1059, the Employer is automatically liable for contributions on all hours worked. See, Trustees

for Michigan BAC Health Care Fund v. Spencer, 2008 U.S. Dist. LEXIS 117014, *8 (E.D. Mich.

2008). Consequently, “[e]vidence that falls short of the clarity and specificity required by §

1059, but nonetheless allows the number of covered hours to be discerned, satisfies the burden.”

Id.



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        Bunn’s records were more than adequate to determine the amount owed to Newlon for

the covered work he performed as noted in the certified payroll reports and monthly contribution

reports remitted to the union. At the very least, Grimaldi provides an Employer the opportunity

to prove the amount of covered work performed by a given employee versus the amount of work

performed that is not covered. Accordingly, the Funds proclamation in its March 19, 2012

correspondence to Bunn that Bunn is required to pay contributions for all hours worked by each

employee is not accurate and should not be the basis to withhold insurance benefits and monthly

pension benefits.

        The District Courts have both recognized and followed the burden shifting approach set

forth in Grimaldi. In Plumbers Local 98 Defined Benefit Pension Fund v. M & P Master

Plumbers of Michigan, Inc., 608 F.Supp.2d 873, 881 (E.D. Mich. 2009), Judge Rosen, citing

Grimaldi as “Sixth Circuit precedent,” recognized an Employer’s right to dispute the Fund’s

allegations of delinquent contributions by producing evidence that the work was not covered

under the CBA. Likewise, in Trustees for Michigan BAC Health Care Fund v. Spencer, supra,

the Court determined that evidence proffered by the Employer (daily planner, Employer affidavit

and Employer self-audit) was sufficient to satisfy its burden under Grimaldi and create a

question of fact regarding the amount of covered work for which contributions are owed. 2

        In Trustees of the Northwestern Ohio Plumbers and Pipefitters Pension Plan v. Helm and

Associates, 2012 U.S. Dist. LEXIS 93446 (N.D. Ohio 2012), the pension plan sought to rely

upon Grimaldi and hold the Employer liable for the entire amount calculated in its audit because


2
  There are two opinions originating from this Court finding that an Employer must contribute for all hours worked
by an employee if he splits time between work covered under the CBA and work not covered under the CBA. See,
Noe v. R.D. Jones Excavating, Inc., 787 F. Supp. 759 (S.D. Ohio 1992) and Orrand, et al. v. Shope, 2002 U.S. Dist.
LEXIS 28766 (S.D. Ohio 2012). Notably, Noe was decided two (2) years prior to Grimaldi. Orrand, in turn, relied
upon Noe (and did not even mention Grimaldi) in denying the Employer the opportunity to put on evidence that the
employee in question did not perform covered work. As noted above, Grimaldi is Sixth Circuit precedent and, as
such, Noe and Orrand hold no precedential value in this case.

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the Employer had failed to maintain adequate records as required by 29 U.S.C. §1059. The

Court ultimately determined that even though the Employer’s daily reports were “sometimes

incomplete, vague, blank or otherwise inadequate to calculate liability with mathematical

exactness, they do provide enough information from which a reasonably certain calculation can

be made, and they do provide detailed information about the vast majority of Defendant’s total

work hours during the audit period.” Id. at 16. The Court further noted that even though the

Employer’s records allowed for a reasonably accurate calculation, the pension fund’s audit was

excessive and not fully credible. Id. Ultimately, the court conducted its own audit using the

documents submitted at trial and ordered the Employer to pay $52,735.63 in delinquent

contributions, interest and liquidated damages to the pension plan, an amount significantly lower

than the $399,305.13 figure noted in the pension plan’s audit. The court reasoned as follows:

       Case law suggests a mathematically precise number is not necessary so long as
       there is reasonable data from which the amount of damages can be ascertained
       with reasonable certainty. And unlike in Grimaldi, in this case it is not utterly
       impossible to determine with reasonable certainty the extent of Defendant's
       liability using the records Defendant kept.

       ******************************************************************

       In sum, because Plaintiff's Audit Report is mostly unreliable, the Court believes
       holding Defendant liable for the entire amount calculated by the Audit Report
       would be unjust and contrary to the backbone premise of Grimaldi -- that ERISA
       plans be enabled to collect what they are actually owed at the cost of sometimes
       collecting more when Defendant's failure to meet a statutory obligation deprives
       them of the ability to calculate their actual damages. Moreover, despite the flaws
       and incompleteness of the daily reports, Plaintiffs have not shown the kind of
       manifest failure to maintain adequate records that the court found in Grimaldi.
       But unlike cases where the amount of covered work could not be determined
       without reliance upon an audit, here the amount of covered work performed by
       covered employees can be determined with reasonable certainty using the
       evidence admitted at trial. The Court has therefore undertaken its own calculation
       and determined an amount owed based on the daily reports, the testimony
       presented at trial, and the hourly contribution rates used in the Audit Report.




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Id. at 18-20. (Internal quotations and citations omitted). Bunn has provided more than enough

evidence such that there is reasonable data from which the amount of damages can be

ascertained with reasonable certainty. Newlon performed limited covered work as expressly

illustrated by the certified payroll reports and monthly contribution reports remitted to the union.

Nonetheless, the Fund’s audit is unreasonable and unreliable. For instance, the Fund alleges that

Newlon performed 360 hours of work in May 2010, meaning Newlon worked 11.6 per day

including Saturdays and Sundays. Additionally, Newlon performed only fifteen (15) hours of

covered work in 2011, yet, the Fund is demanding contributions for 1,148.5 hours of work.

       B.      Plaintiffs Will Be Irreparably Harmed Absent a Temporary Restraining
               Order

       Defendant is seeking contributions for all hours worked by Newlon.             Accordingly,

Defendant asserts that Bunn owes delinquent contributions with respect to those hours. Bunn

has continued to remit monthly contributions for all of its employees who perform covered work.

Nonetheless, rather than credit the individuals for whom the contributions were made, the Fund

is applying these contribution payments towards the findings of the disputed audit. In doing so,

individual Plaintiffs have been denied medical benefits for which they are otherwise eligible to

receive. Similarly, Newlon is being denied monthly pension premiums even though Bunn has

submitted records enabling the Fund to determine the proper amount of covered work he has

performed and, therefore, determine his eligibility to receive monthly pension payments.

       Irreparable injury is an injury for which a monetary award is not adequate. See, Chartier

v. J & F Management Corp., 1992 U.S. Dist. LEXIS 17853, *12 (S.D. N.Y. 1992). The harm

must be actual and imminent. Id. Courts have regularly held the loss of medical benefits

establishes “irreparable harm.” For example, in Whelan v. Colgan, 602 F.2d 1060, 1062 (2nd Cir.

1979) the court concluded that “the threatened termination of benefits such as medical coverage

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for workers and their families obviously raises the specter of irreparable injury.” In Whelan, the

Employer trustees blocked the payment of medical and welfare benefits by the Fund to striking

employees. Id at 1061. The union designated trustees sought injunctive relief and the court

subsequently granted the requested injunction. Id.

       In United Steelworkers of America v. Textron, Inc., 826 F. Supp.2d 6 (1st Cir. 1987) the

court upheld the District Court’s issuance of a preliminary injunction. The court stated as

follows:

       Neither Textron nor JL has paid medical insurance premiums for approximately
       200 retired Waterbury Division workers. Suppose we take this specific,
       undisputed, fact and add general facts that either are commonly believed or which
       courts have specifically held sufficient to show irreparable harm; such general
       facts as (1) most retired union members are not rich, (2) most live on fixed
       incomes, (3) many will get sick and need medical care, (4) medical care is
       expensive, (5) medical insurance is, therefore, a necessity, and (6) some retired
       workers may find it difficult to obtain medical insurance on their own while
       others can pay for it only out of money that they need for other necessities of life.
       See, e.g., Zotto v. Scovill, Inc., Slip Op. No. 85-494 (D. Conn. Nov. 7, 1985) (“a
       reduction in medical benefits ‘establishes the threat of irreparable harm’ because
       ‘the practical effect of the reductions could well be to preclude retirees from
       seeking needed medical treatment’”); United Steelworkers of America, AFL-CIO
       v. Fort Pitt Steel Casting, 598 F.2d 1273, 1280 (3d Cir. 1979) (“surely the
       possibility that a worker would be denied adequate medical care as a result of
       having no insurance would constitute ‘substantial and irreparable injury’”);
       Whelan v. Colgan, 602 F.2d 1060, 1062 (2d Cir. 1979) (“the threatened
       termination of benefits such as medical coverage for workers and their families
       obviously raised the spectre of irreparable injury.”). We should then conclude
       that retired workers would likely suffer emotional distress, concern about
       potential financial disaster, and possibly deprivation of life’s necessities (in order
       to keep up in insurance payments). In short, taken together, these facts would
       show harm that, in this sort of case, is ‘irreparable.’

Id. at 8. (Quotations and citations in original). See also, Mamula v. Satralloy, Inc., 578 F. Supp.

563, (S.D. Ohio 1983) (In granting employees’ motions for preliminary injunction Court noted

that persons on limited incomes who are not covered by health insurance often forego needed

medical attention and being denied health insurance which was promised under the CBA results


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in harm that is not readily measurable, but clearly present.) Bunn has remitted the required

monthly contributions, but the Fund continues to block the men’s health and welfare benefits.

       C.      The Balance of Harm Strongly Favors the Plaintiffs

       The Fund is denying health insurance benefits to Plaintiffs even though Bunn is remitting

the required contributions on their behalf as is required by the CBA. Rather than credit the

individuals for whom the contributions were made, the Fund is applying these contribution

payments towards the findings of the disputed audit. There is only one employee (Newlon)

whose hours are in dispute and he is suffering the consequences by not receiving much needed

monthly pension premiums despite the fact he has regained eligibility under the terms of the

plan. Additionally, once Karcher terminated his employment with Bunn he regained his health

insurance benefits and was subsequently reimbursed for any out of pocket/personal expenses to

pay for health insurance. It would appear that the Fund is attempting to exert external pressures

upon Bunn to pay the disputed amount listed in the second audit report by unlawfully

withholding insurance benefits to Bunn employees. Accordingly, the Fund continues to harm

Bunn’s current employees due to a dispute over the hours of a retired member of Local 18.

Lastly, the Fund should be crediting the monthly payments towards the employees for which the

contributions are intended.     See, Operating Engineers Local 324 Health Care Plan v.

Dalessandro Contracting Group, LLC, 2012 U.S. Dist. LEXIS 32551, *20 (E.D. Mich. 2012)

(The court concluded that the Fund’s “audit must calculate Defendant’s owed contributions on a

monthly basis and the audit must account for [Employer’s] timely payments made on behalf of

an employee in that given month”). The Fund will suffer no harm in reinstating the health

insurance benefits as it continues to receive monthly contributions for these employees.




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       D.      The Public Interest Favors Granting a Temporary Restraining Order

       Plaintiffs have a contractual right to health insurance per the terms of CBA.          The

Plaintiffs have abided by those terms by working the requisite hours and remitting the necessary

monthly contributions in order to obtain and retain eligibility. Granting Plaintiffs the requested

injunction will deter this Fund and others from unlawfully withholding health insurance benefits

from persons who are otherwise eligible to receive them.

IV.    CONCLUSION

       For the reasons outlined above, Plaintiffs respectfully request that this Court grant the

temporary restraining order in its entirety.

Dated this 16th day of April, 2013.

                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2013, I electronically filed the foregoing with the

clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel registered to receive electronic notices, and I hereby certify that I have sent, via

First Class U.S. Mail and e-mail to the following:

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                                                     /s/ Aaron Tulencik
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